Case 1:18-cv-00427-JJM-LDA Document 41-19 Filed 07/15/19 Page 1 of 22 PageID #: 1065
Case 1:18-cv-00427-JJM-LDA Document 41-19 Filed 07/15/19 Page 2 of 22 PageID #: 1066
Case 1:18-cv-00427-JJM-LDA Document 41-19 Filed 07/15/19 Page 3 of 22 PageID #: 1067
Case 1:18-cv-00427-JJM-LDA Document 41-19 Filed 07/15/19 Page 4 of 22 PageID #: 1068
Case 1:18-cv-00427-JJM-LDA Document 41-19 Filed 07/15/19 Page 5 of 22 PageID #: 1069
Case 1:18-cv-00427-JJM-LDA Document 41-19 Filed 07/15/19 Page 6 of 22 PageID #: 1070
Case 1:18-cv-00427-JJM-LDA Document 41-19 Filed 07/15/19 Page 7 of 22 PageID #: 1071
Case 1:18-cv-00427-JJM-LDA Document 41-19 Filed 07/15/19 Page 8 of 22 PageID #: 1072
Case 1:18-cv-00427-JJM-LDA Document 41-19 Filed 07/15/19 Page 9 of 22 PageID #: 1073
Case 1:18-cv-00427-JJM-LDA Document 41-19 Filed 07/15/19 Page 10 of 22 PageID #:
                                    1074
Case 1:18-cv-00427-JJM-LDA Document 41-19 Filed 07/15/19 Page 11 of 22 PageID #:
                                    1075
Case 1:18-cv-00427-JJM-LDA Document 41-19 Filed 07/15/19 Page 12 of 22 PageID #:
                                    1076
Case 1:18-cv-00427-JJM-LDA Document 41-19 Filed 07/15/19 Page 13 of 22 PageID #:
                                    1077
Case 1:18-cv-00427-JJM-LDA Document 41-19 Filed 07/15/19 Page 14 of 22 PageID #:
                                    1078
Case 1:18-cv-00427-JJM-LDA Document 41-19 Filed 07/15/19 Page 15 of 22 PageID #:
                                    1079
Case 1:18-cv-00427-JJM-LDA Document 41-19 Filed 07/15/19 Page 16 of 22 PageID #:
                                    1080
Case 1:18-cv-00427-JJM-LDA Document 41-19 Filed 07/15/19 Page 17 of 22 PageID #:
                                    1081
Case 1:18-cv-00427-JJM-LDA Document 41-19 Filed 07/15/19 Page 18 of 22 PageID #:
                                    1082
Case 1:18-cv-00427-JJM-LDA Document 41-19 Filed 07/15/19 Page 19 of 22 PageID #:
                                    1083
Case 1:18-cv-00427-JJM-LDA Document 41-19 Filed 07/15/19 Page 20 of 22 PageID #:
                                    1084
Case 1:18-cv-00427-JJM-LDA Document 41-19 Filed 07/15/19 Page 21 of 22 PageID #:
                                    1085
Case 1:18-cv-00427-JJM-LDA Document 41-19 Filed 07/15/19 Page 22 of 22 PageID #:
                                    1086
